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                 4                                  UNITED STATES DISTRICT COURT
                 5                                           DISTRICT OF NEVADA
                 6                                                      ***
                 7       UNITED STATES OF AMERICA,                              Case No. 2:17-CR-21 JCM (GWF)
                 8                                              Plaintiff(s),                    ORDER
                 9              v.
               10        DANIEL BOYAR, et al.,
               11                                             Defendant(s).
               12
               13              Presently before the court is defendant Adam Younassoghlou’s motion to expedite
               14       sentencing. (ECF No. 220).
               15              As an initial matter, defendant is represented by counsel, and thus defendant is not
               16       authorized to file motions pro se.
               17              Further, the motion lacks merit. Defendant requests that his sentence be imposed “without
               18       delay pursuant to Rule 32(a)(1).” Id. Defendant’s motion, although not clear in this respect,
               19       appears to operate on the assumption that the sentencing date is May 21, 2018, in seven months.
               20       Id. Per this court’s records, defendant’s sentencing is currently set for Thursday, November 16,
               21       2017, in three weeks. The current sentencing date does not impose an unreasonable delay in
               22       defendant’s sentencing, and will therefore remain unchanged.
               23              Accordingly,
               24              IT IS HEREBY ORDERED that defendant’s motion to expedite sentencing (ECF No. 220)
               25       be, and the same hereby is, DENIED.
               26              DATED October 26, 2017.
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                                                                       __________________________________________
               28                                                      UNITED STATES DISTRICT JUDGE

James C. Mahan
U.S. District Judge
